 UNITED STATES DISTRICT COURT
 SOUTHERN DISTRICT OF NEW YORK
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 JANE LISS,

                                            Plaintiff(s),           19-CV-4797-LTS-SDA

                         -v-

 HERITAGE HEALTH & HOUSING INC.,

                                Defendant(s).
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                                                            ORDER



            In light of the pending motion, the final pretrial conference scheduled for January 14, 2022, is

 rescheduled to April 1, 2022, at 10:30 a.m. in Courtroom 17C.


            SO ORDERED.


 Dated: New York, New York
        January 3, 2022

                                                                     /s/ Laura Taylor Swain
                                                                    LAURA TAYLOR SWAIN
                                                                    United States District Judge




CV Order resched conf date pend mot 3.frm version 5/22/09
